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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 05 JU_!L __.] P§% : 22

Western Division

 

UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20249-2 -'ré`

ROBERTA REYNA

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

in Courtroom No. 5, Third Floor, United States Courthouse and F ederal Building, 167 North Main,
Memphis, TN. Pending this hean`ng, the defendant shall be held in custody by the United States
Marshal and produced for the hearing

Date: July 6, 2005

77 @é,...__,

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

 

the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attomey for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470(8!85)0mermempomry newman d uinent entered on the docket sheet in corr-ipll rice
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with Rule 55 and/or 32(©) FHCrP on

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 15 in
case 2:05-CR-20249 Was distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed.

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

